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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

    In re:                                                       Chapter 11

    SOUTHERN FOODS GROUP, LLC, et al.,1                          Case No. 19-36313 (DRJ)

                                    Debtors.                     Jointly Administered

                                                                 Related Docket Nos. 925, 1183, 1393, 1594, 1762



                SUPPLEMENT TO VIDEOJET TECHNOLOGIES INC.’S LIMITED
                 OBJECTION TO NOTICE OF POTENTIAL ASSUMPTION AND
             ASSIGNMENT OF EXECUTORY CONTRACTS OR UNEXPIRED LEASES
              AND CURE COSTS AND DEBTORS’ PROPOSED SALE(S) OF ASSETS

             Videojet Technologies Inc. (“Videojet”), by and through its undersigned counsel, hereby

submits this supplement (the “Videojet Supplemental Objection”) to Videojet Technologies

Inc.’s Limited Objection to Notice of Potential Assumption and Assignment of Executory

Contracts or Unexpired Leases and Cure Costs and Debtors’ Proposed Sale(s) of Assets [Docket

No. 1393] (the “Videojet Objection”) and, by this Videojet Supplemental Objection, hereby

objects to the Notice of Proposed Assumption and Assignment of Executory Contracts and


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             The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
             respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean
             Foods Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade
             Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC
             (9144); Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC
             (9192); Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC
             (2504); Dean Holding Company (8390); Dean Intellectual Property Services II, Inc. (3512); Dean
             International Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico Holdings, LLC
             (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190); Dean
             West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC
             Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc.
             (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
             Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008);
             Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675);
             Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza
             Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and
             Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North Haskell
             Avenue, Suite 3400, Dallas, TX 75204.
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Unexpired Leases for Prairie Farms Dairy, Inc. [Docket No. 1762] (the “Prairie Farms Dairy

Notice”). In support of this Videojet Supplemental Objection, Videojet respectfully states as

follows:

                                  PRELIMINARY STATEMENT

       1.         As noted in the Videojet Objection, Videojet, a maker and marketer of industrial

printing equipment, generally supports the Debtors’ sale of substantially all of their assets in

these bankruptcy cases. By this Videojet Supplemental Objection, however, Videojet objects to

the Prairie Farms Dairy Notice, as that notice does not include either (a) a clear and/or complete

listing of all of the Videojet Equipment Leases and the Videojet Contracts that the Debtors

propose to assume and assign thereunder or (b) accurate proposed cure amounts for those leases

and contracts.2

       2.         To address these issues, Videojet includes with this Videojet Supplemental

Objection a listing of the Videojet Equipment Leases and the Videojet Contracts that Videojet

believes are or may be applicable to Prairie Farms Dairy, as well as Videojet cure amount

information for each.

       3.         Videojet welcomes the opportunity to discuss and hopefully resolve these issues

with both the Debtors and Prairie Farms Dairy.

                                           BACKGROUND

I.     The Bankruptcy Cases and The Debtors’ Sale Process

       4.         On November 12, 2019 (the “Petition Date”), the above-captioned debtors and

debtors in possession (the “Debtors”) commenced their respective bankruptcy cases (the

“Bankruptcy Cases”) by filing voluntary petitions for relief under chapter 11 of title 11 of the

2
       Capitalized terms used, but not defined, in the “Preliminary Statement” section of the Videojet
       Supplemental Objection shall have the means set forth otherwise in the Videojet Supplemental Objection.




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United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

Southern District of Texas, Houston Division (the “Court”). The Debtors’ Bankruptcy Cases

have been consolidated for procedural purposes only and are being jointly administered.

       5.     Upon information and belief, the Debtors have continued to operate and manage

their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.

       6.     On February 17, 2020, the Debtors filed the Motion of Debtors for Entry of

Orders (i)(a) Approving Bidding Procedures for Sale of Debtors’ Assets, (b) Approving the

Designation of Dairy Farmers of America, Inc. as the Stalking Horse Bidder for Substantially All

of Debtors’ Assets, (c) Authorizing and Approving Entry into the Stalking Horse Asset Purchase

Agreement, (d) Approving Bid Protections, (e) Scheduling auction for, and Hearing to Approve,

Sale of Debtors’ Assets, (f) Approving Form and Manner of Notices of Sale, Auction, and Sale

Hearing, (g) Approving Assumption and Assignment Procedures, and (h) Granting Related

Relief and (ii)(a) Approving sale of Debtors’ Assets Free and Clear of Liens, Claims, Interests,

and Encumbrances, (b) Authorizing Assumption and Assignment of Executory Contracts and

Unexpired Leases, and (c) Granting Related Relief [Docket No. 925] (the “Sale Motion”).

       7.     On March 18, 2020, the Debtors filed the Debtors’ Notice of Modified Proposed

Bidding Procedures Order and Supplemental Reply [Docket No. 1167].

       8.     On March 19, 2020, the Court entered the Order (i) Approving Bidding

Procedures for Sale of Debtors’ Assets, (ii) Scheduling Hearing to Approve Sale of Debtors’

Assets, (iii) Approving Form and Manner of Notices of Sale and Sale Hearing, (iv) Approving

Assumption and Assignment Procedures, and (v) Granting Related Relief [Docket No. 1178] (the

“Bid Procedures Order”).




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       9.      Additionally, on March 19, 2020, the Debtors filed the Notice of Potential

Assumption and Assignment of Executory Contracts or Unexpired Leases and Cure Costs

[Docket No. 1183] (the “Assumption and Assignment Notice”).

       10.     On April 1, 2020, Videojet filed the Videojet Objection, thereby objecting to,

among other things, the Assumption and Assignment Notice based upon (a) the incomplete

listing therein of the Videojet Equipment Leases (as defined below) and the Videojet Contracts

(as defined below) and (ii) the inaccurate proposed cure amounts for Videojet’s leases and

contracts. Videojet attached to the Videojet Objection as an exhibit the Videojet Schedule,

which lists thirty-three Videojet Equipment Leases and Videojet Contracts (including lease and

contract numbers) and proposed cure amounts current as of the time of the filing of the Videojet

Objection and based on Videojet’s records. The Videojet Objection is incorporated herein by

reference.

       11.     On April 1, 2020, the Debtors filed the Notice Regarding Proposed Assumption

and Assignment of Executory Contracts or Unexpired Leases and Cure Costs [Docket No. 1436].

       12.     On April 7, 2020, the Court entered the Order (a) Authorizing Sale of Certain of

Debtors’ Assets to Prairie Farms Dairy, Inc. Free and Clear of All Claims, Liens, Interests, and

Encumbrances, (b) Authorizing the Debtors to Enter into and Perform Their Obligations under

the Asset Purchase Agreement and Related Documents, and (c) Granting Related Relief [Docket

No. 1594] (the “Prairie Farms Dairy Sale Order”), thereby approving, among other things, the

sale of certain of the Debtors’ assets to Prairie Farms Dairy, Inc. (“Prairie Farms Dairy”).

       13.     On April 23, 2020, and as contemplated by the Prairie Farms Dairy Sale Order,

the Debtors filed the Prairie Farms Dairy Notice.




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II.    Videojet: Videojet Equipment Leases and Videojet Contracts

       14.     As set forth previously in the Videojet Objection, Videojet manufactures and

markets coding and marking equipment and related supplies, and offers, among other products,

continuous ink jets, laser marking, thermal transfer over printers, case coding and labeling, and

thermal ink jets. Videojet also provides maintenance and other services in connection with its

industrial printer products.

       15.     Prior to the Petition Date, Videojet entered into equipment leases and other

service and parts and supplies purchase agreements with certain of the Debtors, including: (a)

equipment leases with full care comprehensive service packages (the “Videojet Equipment

Leases”); (b) service agreements (the “Videojet Service Agreements”); and (c) a master purchase

agreement related to the purchase of supplies, parts and services (the “Videojet MPA” and,

together with the Videojet Service Agreements, the “Videojet Contracts”).

       16.     On March 25, 2020, Videojet filed proofs of claim against certain of the Debtors

for prepetition amounts owed to Videojet.

                                         OBJECTION

       17.     With respect to the Prairie Farms Dairy Notice, Videojet raises the following

objections:

A.     The Prairie Farms Dairy Notice – The Debtors’ List of Videojet
       Equipment Leases and Videojet Contracts Is Unclear and/or
       Incomplete and the Debtors’ Proposed Cure Amounts Are Incorrect

       18.     Subject to the Debtors satisfying their burden of providing adequate assurance of

future performance by Prairie Farms Dairy, Videojet does not oppose the potential assumption

and assignment to Prairie Farms Dairy of certain applicable Videojet Equipment Leases and

Videojet Contracts. However, Videojet objects to the Prairie Farms Dairy Notice as the Debtors’

list of Videojet Equipment Leases and Videojet Contracts is unclear and/or incomplete and the


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proposed cure amounts (the “Debtors’ Prairie Farms Dairy Proposed Cure Amounts”) set forth

therein are incorrect.

       19.     With respect to Videojet, the Prairie Farms Dairy Notice lists the following:

                                                            Contract
Item        Counterparty              Debtor(s)            Description
7596   Videojet Technologies        Southern Foods     Maintenance:
       Inc.                         Group, LLC         Equipment

Prairie Farms Dairy Notice, Schedule at p. 18 of 22.

                                                             Contract         Cure
Item        Counterparty              Debtor(s)            Description       Amounts
8071   Videojet Technologies        Dean Foods         Protective Package          $-
       Inc.                         North Central,     Agreement with
                                    LLC                Equipment Leasing
                                                       Dated 12/27/2017

Prairie Farms Dairy Notice, Schedule at p. 22 of 22.

       20.     The foregoing is an incomplete listing of the Videojet Equipment Leases and the

Videojet Contracts that are or may be applicable to Prairie Farms Dairy. Additionally, the

Debtors’ Proposed Prairie Farms Dairy Cure Amounts listed in those entries are incorrect.

       21.     Below is Videojet’s list (the “Videojet Prairie Farms Dairy Schedule”) of the

Videojet Equipment Leases and the Videojet Contracts, along with cure amounts (the “Videojet

Prairie Farms Dairy Cure Amounts”), for each of the Videojet Equipment Leases and the

Videojet Contracts that are or may be applicable to Prairie Farms Dairy:

                               Contract              Contract      Cure
Item     Debtor(s)            Description            Number      Amounts
11     Dean Foods        Full Care Lease              941653     $7,691.88
       Company           941653

                         Tulsa, OK

                         4/8/2019

18     Southern Foods    Full Care Lease             932579      $1,390.40
       Group, LLC        932579

                         Hammond, LA




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                        6/16/2016
19     Southern Foods   Full Care Lease      933454       $526.51
       Group, LLC       933454

                        Hammond, LA

                        9/23/2016
20     Southern Foods   Service Contract     938444       $752.15
       Group, LLC       938444

                        Hammond, LA

                        4/1/2018



       22.     The foregoing includes: (a) the “Item” number corresponding to the entry in the

Videojet Schedule attached to the Videojet Objection; (b) the “Contract Description” from the

entry in the Videojet Schedule, plus additional information regarding the Debtors’

facility/location to which Videojet believes the listed Videojet Equipment Lease or Videojet

Contract applies and date; and (c) the “Contract Number” as included in the Videojet Schedule.

       23.     The Videojet Prairie Farms Dairy Cure Amounts listed above are those amounts

that were listed in the Videojet Schedule, which amounts were current as of the time of the filing

of the Videojet Objection on April 1, 2020. Videojet is in the process of finalizing updated

Videojet Prairie Farms Dairy Cure Amounts that will be current as of the filing of this Videojet

Supplemental Objection and will supplement this information as soon as possible.

B.     Section 365 of the Bankruptcy Code and the Debtors’ Proposed
       Assumption and Assignment of Certain Videojet Equipment Leases
       and Videojet Contracts

       24.     Pursuant to section 365(b)(1) of the Bankruptcy Code, “[i]f there has been a

default in an executory or unexpired lease of the debtor, the trustee may not assume such

contract or lease unless, at the time of assumption of such contract or lease, the trustee—(A)

cures, or provides adequate assurance that the trustee will promptly cure, such default… .” 11

U.S.C. § 365(b)(1)(A). Under this provision, a “cure” requires that all unpaid amounts due under



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the applicable lease or contract have been paid. See generally In re Network Access Solutions,

Corp., 330 B.R. 67, 76 (Bankr. D. Del. 2005).

          25.   Accordingly, Videojet requests that the Videojet Prairie Farms Dairy Schedule be

(a) provided to Prairie Farms Dairy and (b) included in the filing of a supplemental notice of

potential assumption and assignment of contracts and leases and cure amounts with respect to

Prairie Farms Dairy. Additionally, unless and until the Videojet Prairie Farms Dairy Cure

Amounts are paid with respect to a particular Videojet Equipment Lease and/or Videojet

Contract, such lease and/or contract cannot be assumed by the Debtors and assigned to Prairie

Farms Dairy.

                                 RESERVATION OF RIGHTS

          26.   Videojet reserves the right to supplement, modify and/or amend the foregoing

Videojet Supplemental Objection (including, but not limited to, with respect to the Videojet

Prairie Farms Dairy Cure Amounts), to introduce evidence at any hearing related to the Videojet

Supplemental Objection and any proposed assumption and assignment of the Videojet

Equipment Leases and the Videojet Contracts, and to seek discovery in connection with this

matter.

          27.   In addition, Videojet reserves all of its rights with respect to the Debtors’ burden

of providing adequate assurance of future performance by a proposed assignee, and Videojet

leaves the Debtors to their burden of proving, among other things, that the requirements of

section 365(b)(1)(C) of the Bankruptcy Code have been satisfied with respect to any proposed

assignee.

          28.   Videojet also expressly reserves all rights, claims, causes of action, remedies and

defenses with respect to the Videojet Objection, the Videojet Supplemental Objection, the

Videojet Equipment Leases, the Videojet Contracts, cure amounts related to the Videojet


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Equipment leases and the Videojet Contracts, the Videojet Leased Equipment (as defined in the

Videojet Objection) and any and all other property of Videojet.

       WHEREFORE, Videojet respectfully requests that the Court: (i) sustain this Videojet

Supplemental Objection in its entirety and overrule the Sale Motion and the Prairie Farms Dairy

Notice to the extent the relief sought therein is inconsistent with this Videojet Supplemental

Objection; (ii) require the Debtors to supplement and update the Prairie Farms Dairy Notice

consistent with this Videojet Supplemental Objection; (iii) direct the prompt cure of any Videojet

Equipment Leases and/or Videojet Contracts proposed to be assumed and assigned in the

applicable amount of the Videojet Prairie Farms Dairy Cure Amounts; and (iv) grant Videojet

such other and further relief that the Court deems just and proper.

DATED: April 30, 2020


                                                By: /s/ Miles O. Indest
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 30, 2020, I caused a true and correct copy of the foregoing
to be served on those parties receiving Notice of Electronic Filing generated by CM/ECF and
also to be served upon the parties set forth on the following service list by electronic mail.

                                              /s/ Miles O. Indest

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